      Case 3:09-cr-00019-MEF-SRW Document 73 Filed 03/31/10 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        )    CASE NO. 3:09cr19-MEF
                                                 )
RODNEY ONEAL PHILLIPS                            )                    (WO)

                         PRELIMINARY ORDER OF FORFEITURE

       WHEREAS, in the forfeiture allegation of the indictment in the above case, the United

States sought forfeiture of specific property,

       WHEREAS, defendant Rodney Oneal Phillips consents to the forfeiture of specific property,

       IT IS HEREBY ORDERED that the motion for a preliminary order of forfeiture (Doc. # 72)

is GRANTED as follows:

       1.      As a result of the guilty plea on Count 1 of the indictment, for which the United States

sought forfeiture pursuant to Title 18, United States Code, Section 924(d) and Title 28, United

States Code, Section 2461(c), the defendant shall forfeit to the United States: all firearms and

ammunition involved in the commission of the violation of Title 18, United States Code, Section

922(g)(1).

       2.      The Court has determined that the following property is subject to forfeiture pursuant

to Title 18, United States Code, Section 924(d) and Title 28, United States Code, Section 2461(c);

that the defendant has an interest in such property; and, that the United States has established the

requisite nexus between such property and such offense: a HighPoint, C9, 9mm pistol, bearing

serial number P232765 and ammunition.

       3.      Upon the entry of this Order, the United States Attorney General is authorized to seize

the above-listed property and conduct any discovery proper in identifying, locating or disposing of
      Case 3:09-cr-00019-MEF-SRW Document 73 Filed 03/31/10 Page 2 of 3



the property subject to forfeiture, in accordance with Federal Rule of Criminal Procedure 32.2(b)(3).

       4.      Upon entry of this Order, the United States Attorney General is authorized to

commence any applicable proceeding to comply with statutes governing third party rights, including

giving notice of this Order.

       5.      The United States shall publish notice of the Order and its intent to dispose of the

property in such a manner as the United States Attorney General may direct. The United States may

also, to the extent practicable, provide written notice to any person known to have an alleged interest

in the subject property.

       6.      Any person, other than the above named defendant, asserting a legal interest in the

subject property may, within thirty days of the final publication of notice or receipt of notice,

whichever is earlier, petition the court for a hearing without a jury to adjudicate the validity of his

alleged interest in the subject property, and for an amendment of the Order of Forfeiture, pursuant

to Title 28, United States Code, Section 2461(c) which incorporates Title 21, United States Code,

Section 853(n)(6).

       7.      Pursuant to Federal Rule of Criminal Procedure 32.2(b)(3), this Order of Forfeiture

shall become final as to the defendant at the time of sentencing and shall be made part of the oral

pronouncement of sentence and included in the written judgment in a criminal case. If no third party

files a timely claim, this Order shall become the Final Order of Forfeiture, as provided by Federal

Rule of Criminal Procedure 32.2(c)(2).

       8.      Any petition filed by a third party asserting an interest in the subject property shall

be signed by the petitioner under penalty of perjury and shall set forth the nature and extent of the

petitioner’s right, title, or interest in the subject property, the time and circumstances of the


                                                  2
       Case 3:09-cr-00019-MEF-SRW Document 73 Filed 03/31/10 Page 3 of 3



petitioner’s acquisition of the right, title or interest in the subject property, and any additional facts

supporting the petitioner’s claim and the relief sought.

        9.      After the disposition of any motion filed under Federal Rule of Criminal Procedure

32.2(c)(1)(A) and before a hearing on the petition, discovery may be conducted in accordance with

the Federal Rules of Civil Procedure upon a showing that such discovery is necessary or desirable

to resolve factual issues.

        10.     The United States shall have clear title to the subject property following the Court’s

disposition of all third-party interests, or, if no such petitions are filed, following the expiration of

the period provided in Title 21, United States Code, Section 853(n)(2), which is incorporated by

Title 28, United States Code, Section 2461(c), for the filing of third party petitions.

        11.     The Court shall retain jurisdiction to enforce this Order and to amend it as necessary

pursuant to Federal Rule of Criminal Procedure 32.2(e).

        12.     IT IS FURTHER ORDERED that the Clerk of the Court shall note entry of this Order

in writing on the Judgment in a Criminal Case and forward two certified copies of this Order to the

United States Attorney’s Office.

        SO ORDERED this the 31st day of March, 2010.

                                                         /s/ Mark E. Fuller
                                                CHIEF UNITED STATES DISTRICT JUDGE




                                                    3
